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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

SCOTTSDALE CAPITAL ADVISORS                     )
CORPORATION, et al.,                            )
                                                )
                Plaintiffs,                     )
                                                )
       v.                                       )         Case No. 8:16-cv-00860-DKC
                                                )
FINANCIAL INDUSTRY                              )
REGULATORY AUTHORITY, INC.,                     )
                                                )
                Defendant.                      )
                                                )

                                    NOTICE OF APPEAL

       Notice is hereby given that Scottsdale Capital Advisors Corporation, John J. Hurry,

Timothy B. DiBlasi, and D. Michael Cruz, plaintiffs in the above captioned case, hereby appeal

to the United States Court of Appeals for the Fourth Circuit from the order dismissing the

Complaint, which was entered in this case on April 26, 2016.
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Dated: April 27, 2016                      Respectfully submitted,

                                           /s/ Matthew H. Kirtland
                                           ___________________________________
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                                           B. DiBlasi, and D. Michael Cruz




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